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                           United States Bankruptcy Court
                                    District of Connecticut
                                                                                             Filed and Entered
                                                                                                 On Docket
                                                                                             September 4, 2019


In re:
         Jeffrey O'Keefe
                                                                                        Case Number: 19−21529 jjt
         Sarah O'Keefe                                                                  Chapter: 7
         Debtor*




Aetna Inc.,
Attn: Payroll Dept.,
151 Farmington Avenue
Hartford, CT5 06156


In re: Jeffrey O'Keefe and Sarah O'Keefe
Case Number: 19−21529
Chapter: 7
Judge: James J. Tancredi


Dear Aetna Inc., Payroll Dept.,

This letter serves as notice that the above referenced individual filed a bankruptcy petition on August 30, 2019. This
means that an AUTOMATIC STAY preventing any further wage executions or wage garnishments is now in effect
pursuant to 11 United States Code, § 362. Because there is now an automatic stay in effect, all persons (including you
or your company as an employer) are prohibited by law from taking additional collection action, including
implementing wage garnishments.

The statute also prohibits:

...any act or proceeding to recover a claim against the Debtor that arose before commencement of the case under
Title 11, including the commencement or continuation of any judicial or other proceedings or the enforement of any
judgment against the Debtor or his property, or any act to obtain possession of or create, perfect or enforce a lien
against property of the estate or of the Debtor or any setoff of other act to collect, assess or recover such a claim.

An exception is any wage executions that have been levied for the collection of alimony, maintenance or support
which are exempt from the automatic stay pursuant to 11 United States Code § 362(b)(2).

All wage garnishments for this individual should cease immediately, except wage garnishments or levies for the
collection of alimony or maintenance or support.



Dated: September 4, 2019                                                                 BY THE COURT



                                                                                          Pietro Cicolini
                                                                                          Clerk of Court


United States Bankruptcy Court                                                  Tel. (860) 240−3675
District of Connecticut                                                         VCIS* (866) 222−8029
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450 Main Street, 7th Floor                                                          * Voice Case Information System
Hartford, CT 06103                                                                  http://www.ctb.uscourts.gov
                                                                                    Form 180 − msj
*For the purposes of this notice, "Debtor" means "Debtors" where applicable.
